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                             UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MASSACHUSETTS

 MARCOS DaSILVA and MATTEUS FERREIRA,
 on behalf of themselves and all others similarly
 situated,
                                                            Case No: 16-cv-11205-PBS
                              Plaintiffs,
          v.                                                Leave to file granted on August 31, 2016

 BORDER TRANSFER OF MA, INC.
                                 Defendant.

                  BORDER TRANSFER OF MA, INC.’S REPLY IN SUPPORT
                            OF ITS MOTION TO DISMISS
I.       INTRODUCTION
         In its opening memorandum Border Transfer (1) demonstrated how Plaintiffs’ own

allegations establish under the First Circuit’s Tobin v. Federal Express Corp. rubric that the

Massachusetts Wage Act and unjust enrichment claims implicate, and are related to, transportation

services provided pursuant to the parties’ Agreements; and (2) established why state law claims

interfering with the Agreement terms are FAAAA-preempted as a matter of law based on the

Supreme Court’s Nw. Airlines v. Ginsburg decision, First Circuit precedent in Overka v. Am.

Airlines, Inc., Schwann v. FedEx Ground Package Sys., Inc., and others of their ilk. ECF No. 9,

pp. 3-6.1 Border Transfer further demonstrated that the FAAAA preempts Mass. Gen. Laws ch.

149, § 148B (“Section 148B”), and in turn the Massachusetts Wage Act claim predicated on
Section 148B is subject to dismissal as a matter of law on this alternative basis. ECF No. 9, pp. 6-

9. Finally, Border Transfer established that the parties’ Agreements preclude recovery on the

unjust enrichment claim. Id. at p. 9-10.

         Plaintiffs’ FAAAA response offers only a mischaracterization of their claims as regulating

Border Transfer’s “conduct as an employer” that Plaintiffs contend does not sufficiently impact


     1 The Agreements are docketed at ECF Nos. 9-1 and 9-2, and the full cites to the FAAAA and cases
cited are: Federal Aviation Authorization Administration Act, 49 U.S.C. § 14501(c); Tobin v. Federal
Express Corp., 775 F.3d 448 (1st Cir. 2014); Nw. Airlines v. Ginsburg, 134 S. Ct. 1422 (2014); Overka v.
Am. Airlines, Inc., 790 F.3d 36 (1st Cir. 2015); and Schwann v. FedEx Ground Package Sys., Inc., 813 F.3d
429, 438-40 (1st. Cir. 2016).



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the company’s services, and an illusory “wage law” exception to FAAAA-preemption. These

notions have already been persuasively rejected by decisions more authoritative and far better

reasoned than those upon which Plaintiffs rely. E.g., Schwann, 813 F.3d at 438 (holding that

decision to provide services with an independent contractor or employee is “related to”

transportation company’s services under the FAAAA); Rowe v. New Hampshire Motor Transp.

Ass’n, 552 U.S. 364, 374 (2008) (rejecting argument that Congress intended to allow courts to

expand the list of laws exempt from the FAAAA’s preemptive reach).

          Most tellingly, however, Plaintiffs do not challenge the inescapable point that the effect of
both their Massachusetts Wage Act and unjust enrichment claims is the substitution of

Massachusetts law to compel service terms different from those the parties contracted for in their

Agreements. Twice the United States Supreme Court has considered whether a state law can

provide the basis to alter or disregard the contractual terms agreed to in the free market and both

times found the claims preempted. Am. Airlines v. Wolens, 513 U.S. 219, 232-33 (1995) (Airline

Deregulation Act (“ADA”) 2 preemption clause “stops States from imposing their own substantive

standards with respect to rates, routes, or services” and “confines courts” to enforcement of “the

parties’ bargain, with no enlargement or enhancement based on state laws or policies external to

the agreement.”); Nw. Airlines v. Ginsburg, 134 S. Ct. 1422 (2014). This case presents no

exception to this rule. The Court should accordingly dismiss as a matter of law Plaintiffs’

Massachusetts Wage Act and unjust enrichment claims.

II.       ARGUMENT
          a.     The FAAAA preempts Plaintiffs’ request in both the Massachusetts Wage Act
                 and unjust enrichment claims to compel different service terms than those in
                 the Agreement
          Border Transfer contends Plaintiffs attempt to substitute Massachusetts law in place of the

Agreement impermissibly impacts the company’s services in violation of the FAAAA. Plaintiffs


      2
       Although Wolens and Ginsburg were decided under the ADA, Congress modeled the FAAAA
preemption language on the ADA preemption clause. Rowe, 552 U.S. at 368. Consistent with the FAAAA’s
text and history, the Supreme Court has instructed that, interpreting the FAAAA’s preemption provision,
courts should follow decisions interpreting the ADA’s preemption clause. Id. at 371.



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do not challenge that the FAAAA preempts the use of Massachusetts law to enlarge or discard the

parties’ obligations under the Agreements, a legal axiom applicable to both state statutory and

common law claims. E.g., Wolens, 513 U.S. at 233 (holding that if parties have a contract to

provide transportation services courts are confined “to the parties' bargain, with no enlargement or

enhancement based on state laws or policies external to the agreement.”); Overka, 790 F.3d at 39-

40 (affirming district court’s dismissal of Massachusetts unjust enrichment claim on ADA-

preemption grounds and concluding Ginsburg supported First Circuit’s reasoning in Brown v.

United Airlines, Inc., 720 F.3d 60 (1st Cir. 2013) that the ADA preempts such a claim). This
unassailable point along with the metaphysical certainty under First Circuit precedent that the

Massachusetts Wage Act and unjust enrichment claims seek to alter Agreement terms related to

the transportation services provided compel an FAAAA preemption finding. Schwann, 813 F.3d

at 438 (holding that decision to provide services with an independent contractor or employee is

“related to” transportation company’s services under the FAAAA); see also DiFiore v. Am.

Airlines, Inc., 646 F.3d 81, 87-88 (1st Cir. 2011) (modification to airlines checked-bag fee related

to service because it “would require change in the way the service is provided or advertised.”).

         Plaintiffs’ contentions to the contrary do not undermine this conclusion. For example,

Plaintiffs take the position that the Massachusetts Wage Act and unjust enrichment claims fall

outside the FAAAA’s ambit because both relate to Border Transfer’s conduct as an employer as

opposed to dictating how services are performed. E.g., Pls.’ Opp., p. 11, 17. This assertion does

not square with allegations in the Complaint that “through the use of independent contractor

agreements that violate Massachusetts public policy … Border Transfer is unjustly benefitted by

the Plaintiffs’ and other drivers’ performance of delivery services while requiring Plaintiffs and

others similarly situated to bear the costs of Border Transfer’s delivery business.” Compl., ¶ 27

(emphasis added).3 Moreover, the Complaint alleges services Border Transfer currently provides


     3
       While this allegation comes from the unjust enrichment claim it mirrors the relief Plaintiffs’ request
in the Massachusetts Wage Act claim as well (Compl., ¶ 23-25), which Plaintiffs’ Opposition acknowledges
ECF No. 11, p. 5, n. 6 (“In Counts II (sic.), Plaintiffs also allege that Border Transfer has been unjustly
enriched by shifting its business related expenses to Plaintiffs. However, in the event that the [C]ourt agrees


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pursuant to the Agreements result in control over Plaintiffs indicative of an employment

relationship.4 The corollary to Plaintiffs’ theory that the services Border Transfer currently

provides result in control over Plaintiffs indicative of an employment relationship is that Border

Transfer must in turn alter its services in order to maintain a non-employee relationship. Congress

intended to avoid such alteration of contractual service terms via state-law claims, and in turn the

FAAAA preempts all of Plaintiffs’ efforts to do so here. Ginsburg, 134 S. Ct. at 1433 (recognizing

that substituting state policy for the bargained for agreement of the parties disrupts FAAAA’s

deregulatory aim because the “best interests” of market participants are “most effectively

promoted, in the main, by allowing the free market to operate.”).

        Plaintiffs’ assertion that these claims “will not have a significant impact on [Border

Transfer’s] services” is also unfounded. Pls.’ Opp., p. 17. The First Circuit rejects the premise that

empirical evidence of a claim’s impact on prices, routes, or services is necessary to support a

finding of preemption. Mass. Delivery Ass’n v. Coakley, 769 F.3d 11, 21 (1st Cir. 2014).

Moreover, in Ginsberg, the Supreme Court held that preemption of the plaintiff’s claim for breach

of implied covenant was warranted irrespective of the measure of the impact on the defendant’s

prices and services. Ginsberg, 134 S. Ct. at 1433.

        In Ginsberg, the fact that plaintiff was using a state law to challenge his expulsion from

the defendant’s frequent flyer program, alone, was sufficient to justify preemption of the claim.

Id. at 1431 (claim preempted where “reason for seeking reinstatement of [plaintiff’s] membership

[was] to obtain reduced rates and enhanced services.”). Border Transfer is under no obligation to

provide a quantitative measure of the impact of Plaintiffs’ claims. And, in any event, Plaintiffs’


there is no preemption of Count I, Plaintiffs will voluntarily dismiss their claim for unjust enrichment . . .
as the Wage Act presents an adequate remedy at law to recover their unpaid wages and expenses.”).
     4 Compare, e.g., Compl. ¶ 11(a)(required attendance at morning meetings to “receive instruction on

aspects of deliveries” constitutes control indicative of employment), and ¶ 11(d) (a requirement to “make
deliveries in two-hour time windows” reflects control indicative of employment), with ECF No. 9-1 p. 1
(requiring Plaintiffs’ companies to provide “Carrier Services” that include “pick-up and/or delivery within
residences and businesses locations in accordance with customer requirements”), id., p. 9, §§ 1(a), 2(a)
(identifying customer morning meeting requirement and instructions from customer on what to do if
delivery time window is not met).



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argument does not comport with First Circuit precedent that the decision to work with independent

contractors and the financial terms of that work fit squarely within the realm of transportation

services the FAAAA forbids state laws from interfering with. Schwann, 813 F.3d at 438-40; see

also United Airlines, Inc. v. Mesa Airlines, Inc., 219 F.3d 605, 610-11 (7th Cir.), cert. denied, 531

U.S. 1036 (2000) (“[W]hen the state begins to change the parties’ financial arrangements . . . it is

supplying external norms, a process that the national government has reserved to itself in the

[ground transportation] business.”).

       Try as they might, therefore, Plaintiffs cannot escape the reality that each entered an
Agreement to “perform the Carrier Services provided for . . . as an independent contractor.” ECF

Nos. 9-1 and 9-2, § 8. Nor can Plaintiffs avoid the promise at their “sole cost and expense [to]

furnish all supplies and equipment necessary [and] to pay all operating expenses” including the

insurance, workers’ compensation coverage, and workers’ pay Plaintiffs specifically request

recovery of under Massachusetts law. Id., §§ 3(B), 6(D), 6(F), 11, 12. Plaintiffs do not dispute the

Agreement terms or contend Border Transfer breached those Agreements. Instead they request

that the Court apply Massachusetts law to upend their contractual arrangement, shift their agreed

upon financial arrangements, and retroactively determine that each was an employee. In other

words, the effect of Plaintiffs’ state-law claims is to compel service terms different from those the

parties contracted for, which the FAAAA preempts.
       b.      The FAAAA’s preemption of Section 148B provides an alternative basis for
               dismissal of the Massachusetts Wage Act claim
       The bases on which Plaintiffs dispute Border Transfer’s alternative argument for

dismissing the Massachusetts Wage Act claim—that the FAAAA preempts Prongs 1 and 3 of

Section 148B—fail for the following reasons.

       First, accepting Plaintiffs’ argument that “generally applicable wage laws are not

preempted” by the FAAAA would impermissibly expand on the three exceptions Congress

provided to the FAAAA’s preemptive reach. 49 U.S.C. § 14501(c)(2)(A). Wage laws are not

among the exceptions, and the Court bars the judiciary from creating a wage law exception here.

United States v. Johnson, 529 U.S. 53, 58 (2000) (“When Congress provides exceptions in a



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statute, it does not follow that courts have authority to create others.”); see also Rowe, 552 U.S. at

374 (recognizing the FAAAA “explicitly lists a set of exceptions” to the law and refusing to read

a public health exception into the FAAAA).

         As for the authority Plaintiffs cited in support of their sweeping generalization to the

contrary, the cited decisions here and in the parentheticals below demonstrate Plaintiffs’ citations

are misplaced, whether because of the absence of any worker classification issue or inapplicable

arguments contrary to what Border Transfer advocates here. See Mass. Delivery Ass’n v. Healey,

821 F.3d 187, 192 (1st Cir. 2016) (noting that “decisions from other circuits that the Attorney
General argues are inconsistent with Schwann—Costello v. BeavEx, Inc. . . . Amerijet

International, Inc. v. Miami–Dade County, . . . and Dilts v. Penske Logistics, LLC . . .—were

already considered” and rejected).5 No wage law exception exists, and the Court is not allowed to

create one.

         Second, Plaintiffs’ assertion that a resemblance between Prongs 1 and 3 and laws in other

states counsels against finding preemption likewise lacks merit. E.g., Pls.’ Opp., p. 7 (citing Khan

v. East Coast Critical, LLC, No. 2015-2762-D (Suffolk Sup. Ct. May 4, 2016) as support for

proposition). It matters not for preemption purposes whether the claim at issue is the same as or

different from other state law claims. Rowe, 552 U.S. at 373 (“to interpret the federal law to permit



     5 Californians for Safe & Competitive Dump Truck Transp. v. Mendoca, 152 F.3d 1184, 1187 (9th Cir.
1998) (case analyzing whether FAAAA preempts application California labor code to operations of motor
carriers who have chosen to use employees to transport freight); Delivery Express, Inc. v. Sacks, 2016 WL
3198321 (W.D. Wash. June 9, 2016) (concludes, contrary to First Circuit statement in Brown, that a
presumption against preemption exists and, contrary to Supreme Court’s analysis in Rowe, concludes that
the ability to comply with the law militates against a preemption finding); Echavarria v. Williams Sonoma,
2016 WL 1047225, at *9 (D.N.J. Mar. 16, 2016) (case did not involve request to reclassify broker as
employer, endorsed non-existent “generally applicable background regulation” exception to FAAAA’s
preemptive scope, and held a presumption against preemption exists “in this traditional area of state power,”
which the First Circuit has specifically rebuked (Brown, 720 F.3d at 68 (“the presumption against
preemption does not apply” in the FAAAA context)); Villalpando v. Exel Direct Inc., 2015 WL 5179486,
at *24-30 (N.D. Cal. Sept. 3, 2015) (adopting “decisions of the Ninth Circuit and therefore” declining to
follow approach “taken by the First Circuit” in case not involving property broker); People ex rel. Harris
v. Pac Anchor Transportation, Inc., 329 P.3d 180 (Cal. 2014) (state court opinion interpreting federal law
that, contrary to Supreme Court precedent, relies on fallacy that in order to be preempted a state’s employee
classification test must wholly prohibit the use of independent contractors).



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these, and similar, state requirements could easily lead to a patchwork of state service-determining

laws . . . inconsistent with Congress’ major legislative effort to leave such decisions, where

federally unregulated, to the competitive market place.”). What matters here is the impact of the

enforcement of Plaintiffs’ claims on Border Transfer’s services. Tobin, 775 F.3d at 454.

        Here, such enforcement would necessitate that broker Border Transfer acquire additional

licensing from the federal government to transport freight and fulfill registration, branding (i.e.

signage), public liability insurance, and safety compliance obligations. See also Def.’s Mem. pp.

8-9 (listing in detail operational changes Border Transfer would need to make in order to transport
goods in interstate commerce under its own motor carrier authority). This modification in the

services contemplated by Plaintiffs’ Section 148B employment allegation goes directly to Border

Transfer’s core services as a broker and is in turn FAAAA-preempted. Tobin, 775 F.3d at 456.

        It also distinguishes this case from the inapposite Costello v. BeavEx, 810 F.3d 1045 (7th

Cir. 2016) decision Plaintiffs are fond of citing that did not involve property broker services or

Section 148B. Rather, the Seventh Circuit answered only the question certified by the district court

in the case—whether the FAAAA preempted the second prong of the test for employment

contained in the Illinois Wage Payment and Collection Act (“IWPCA”), 820 ILCS 115/2(2). Id. at

1049 n.1. As a result, the Seventh Circuit engaged in no analysis of the FAAAA’s preemptive

effect on plaintiffs’ claims or any subsection of Illinois employment test other than the second

prong, and further explicitly distinguished Section 148B from the IWCPA in the opinion. Id. at

1055.

        Moreover, it was critical to the Seventh Circuit in Costello that the parties in the case could

contract around the IWPCA’s prohibition on deductions from wages. Id. at 1057 (citing reasoning

in Ginsburg for proposition that FAAAA does not preempt a state law that permits the parties to

contract around its requirements). No such flexibility exists with respect to the Massachusetts

Wage Act: “No person shall by a special contract with an employee or by any other means exempt

himself from this section or from section one hundred and fifty.” Mass. Gen. Laws ch. 149, § 148.




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        In Schwann, which was issued after Costello, the First Circuit embraced these distinctions

and noted BeavEx’s failure to show that the IWPCA’s test would require a change in BeavEx’s

services. Schwann, 813 F.3d at 440 n.8. Here, the change in Border Transfer’s services that would

be required by the enforcement of Plaintiffs’ claims is obvious—Border Transfer would have to

provide motor carrier services. And even fully informed by the Seventh Circuit’s rationale in

Costello, the Schwann court held that Prong 2 was preempted. Costello is of no moment.

        Third, Plaintiffs are incorrect that Border Transfer’s assertion that the First Circuit left open

the issue of whether Prongs 1 and 3 were FAAAA preempted “is simply wrong.” Schwann does

not hold that Prongs 1 and 3 escape the FAAAA’s preemptive reach. Rather, the First Circuit

made clear that the sole reason for its reversal and remand of the district court’s holding in that

regard was FedEx’s decision to forego arguing that either prong was preempted, a point the First

Circuit confirmed in the companion Remington v. J.B. Hunt, No. 1 15-1052 (1st Cir. Feb 22, 2016)

case decided the same day as Schwann: “Our decision to reverse the district court’s preemption

argument [in Schwann] as to Prongs 1 and 3 was based on FedEx’s decision not to advance any

argument that Prongs 1 and 3 were preempted by the FAAAA.” Moreover, the Schwann court

made no comment on whether claims under Prongs 1 and 3 or purportedly similar laws in other

states are preempted by the FAAAA. Contra Pls.’ Opp., pp. 4, 14-15. Rather, the court stated that

such laws “pose closer questions than that presented in this case.” Schwann, 813 F.3d at 440.

Every aspect of the Schwann court’s discussion on Prongs 1 and 3 is therefore dicta.6
        Fourth, Plaintiffs’ are mistaken in their contention that “Border Transfer seeks a reading of

the FAAAA that is at odds with its legislative history.” See Pls.’ Opp., pp. 15-17. In enacting the

FAAAA, Congress’ “overarching goal [wa]s [to] help[] ensure transportation rates, routes, and

services that reflect the maximum reliance on competitive market forces, thereby stimulating



    6
       Plaintiffs’ citation to Wilson v. Xpressman Trucking & Courier, Inc. provides no support for their
position. The decision incorrectly states that “Prong 2 preempts the Massachusetts Wage Act,” and states
the First Circuit affirmed in Schwann and its companion case, Remington v. J.B. Hunt Transport, Inc., that
“Prongs 1 & 3 are not preempted.” ECF No. 113-10. The First Circuit made no such holding in either case.
Schwann, 813 F.3d at 440-41; Remington, No. 15-1215, slip op. at 2.



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efficiency, innovation, and low prices, as well as variety and quality.” Rowe, 552 U.S. at 371

(internal quotations omitted). By deregulating the transportation market Congress liberated

participants in the transportation industry to devise their own methods for transporting freight;

allowing the marketplace, not states to determine the manner in which they did so. Effectuating

this policy decision requires more than just eliminating federal regulation (and prohibiting state

regulation) on the front end. Parties must have assurance that the terms upon which they agree will

be honored. “The stability and efficiency of the market depends fundamentally on the enforcement

of agreements freely made based on the needs by the contracting parties at the time.” Wolens, 513
U.S. at 230; see also Difiore, 646 F.3d at 88 (service arrangements are just what Congress did not

want states regulating, whether at high cost or at low.”).

       Fifth, a finding of preemption will not leave individuals contracting to provide

transportation services as independent contractors without a remedy. The FAAAA does not

preempt state law claims designed to enforce the contractual agreements that transportation

companies reach. Wolens, 513 U.S. at 233. So, if an independent contractor was duped into

entering an agreement or had a gun held to his head and was forced to sign it, he could argue that

no contract was formed because it was not freely made. E.g., P.L.A.Y., Inc. v. NIKE, Inc., F. Supp.

2d 60, 65 (D. Mass. 1998) (permitting rescission of a contract “only upon a showing of fraud,

accident, mistake, or some type of grossly inequitable conduct that renders the contract void ab

initio.”). Were Plaintiffs to succeed on that argument, they would be free to rescind the contract.

Id. Similarly, a motor carrier operator such as the Plaintiffs are free to argue that the broker

breached the agreement. See Ginsberg, 134 S.Ct. at 1433. However, when the parties have freely

entered a contract and performed under it, the FAAAA’s deregulatory goal demands that the

contract be honored and enforced. Wolens, 513 U.S. at 230.

       c.      The Agreement’s existence requires dismissal of the unjust enrichment claim

       Plaintiffs’ assure the Court they will voluntarily dismiss the unjust enrichment claim if the

Court agrees not to find preemption of the Massachusetts Wage Act claim. Pls.’ Opp., p. 18.

Because “the mere availability of” a statutory claim, not its viability, bar an unjust enrichment



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claim, Massachusetts law dictates that the Court should not accept this barter. Reed v. Zipcar, Inc.,

883 F. Supp. 2d 329, 334 (D. Mass. 2012) (“The viability of her Chapter 93A claim . . . is beside

the point; its ‘mere availability’ bars her claims for unjust enrichment”). Nor should it accept

Plaintiffs invitation to adopt the Northern District of California’s approach of waiting until a

determination that “an enforceable contract between the parties” exists before dismissing an unjust

enrichment claim. Under Massachusetts law, the “mere availability” of a statutory claim bars the

unjust enrichment request. Id. “Massachusetts does not allow litigants to override an express

contract by arguing unjust enrichment” and dismissal of the unjust enrichment claim on this
alternative basis is therefore required. Reed v. Zipcar, Inc., 883 F. Supp. 2d 329, 334 (D. Mass.

2012) (citing Platten v. HG Bermuda Exempted Ltd., 437 F.3d 118, 130 (1st Cir. 2006)).

III.   CONCLUSION

       The Supreme Court made clear in Wolens and Ginsburg that state law claims may not alter

or impair the enforcement of contracts related to transportation prices, routes, or services freely

made in the marketplace without running afoul of the FAAAA. Both of Plaintiffs’ claims violate

this principle, and are in turn FAAAA-preempted. The FAAAA alternatively preempts the

Massachusetts Wage Act claim because a fundamental change in Border Transfer’s services as a

broker would follow if Plaintiffs obtained their requested relief under Section 148B. And an

alternative basis for dismissing Plaintiffs’ unjust enrichment claim also exists given the existence

of the Agreements, which provides the foundation for the parties’ relationship here.

       Border Transfer respectfully requests that the Court enter judgment in its favor on

Plaintiffs’ Complaint.
                                                        Respectfully submitted,
                                                        BORDER TRANSFER OF MA, INC.
                                                        /s/Adam C. Smedstad
                                                        Adam C. Smedstad
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                                   CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent electronically

to the registered participants as identified on the Notice of Electronic Filing (NEF) and paper

copies will be sent to those indicated as non-registered participants on September 9, 2016.



                                                        /s/Adam C. Smedstad


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